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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

CAROLYN CARTER
Plaintiff CASE NO.

VS.

UNITED STATES OF AMERICA MARCH 18, 2016
Defendant

COMPLAINT
JURISDICTION AND VENUE

1. This action is brought pursuant to 28 U.S.C. §1332 for injuries sustained on
February 1, 2012 in Nevvport, Rhode Island.

2. On January 15, 2014, the plaintiff submitted an Administrative Claim
to United States.

3. On February 24, 2016 the Department of the Navy formally denied the plaintiff s
Administrative Clairn.

4. As such, all conditions precedent to a Federal Tort Claim have been met pursuant
to 28 U.S.C. §2401(b).

5. The plaintiff, Carolyn Carter, is a resident of South Carolina.

6. The defendant, Edrnund Ganal, M.D., is an individual believed to be a resident of

Rhode Island.

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7. The defendant, David Burnikel, M.D., is an individual believed to be a resident of
Rhode Island.

8. The amount of legal interest or property in demand, exclusive of interest and
costs, is in excess of Seventy-Five Thousand Dollars ($75,000.00).

9. There is complete diversity pursuant to 28 U.S.C. §1332(a)(1).

10. Venue is proper in this district pursuant to 28 U.S.C. §1391, as the injury occurred
Within the State of Rhode Island.

FACTS
COUNT ONE:

1. On or about February 1, 2012, Edmund Ganal, M.D. Was a United States naval
physician acting Within the scope of his employment as a United States naval physician With
privileges to perform surgery at the Newport Hospital.

2. On said date, the plaintiff, Carolyn Carter underwent a repair of her right arm and
shoulder after consulting With the defendant, Edmund Ganal, M.D., Which procedure Was
performed at NeWport Hospital in Newport, Rhode Island, by the defendants Dr. Edmund Ganal

and Dr. David Burnikel.

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3. At all times relevant hereto, the defendant, Edmund Ganal, M.D., held himself out
as capable of performing the repair of the right arm and shoulder and that he had the skill,
education and training to perform the procedure pursuant to the standard of care.

4. During the attempted repair of the right arm and shoulder, the plaintiff sustained
an injury to the nerves in her arm.

5. Upon information and belief, said injury occurred when Dr. Ganal and/or Dr.
Burnikel caused injury to the plaintist nerves.

6. As a consequence of said action the plaintiff was diagnosed post operatively with
a cutaneous nerve rupture of the right arm.

7. As a result of the injury incurred during the surgery, the plaintiff required a
secondary surgery.

8. The defendant Edmund Ganal was negligent and careless in that he deviated from

the standard of care in one or more of the following ways, in that he:

a. failed to properly identify the area to be repaired;

b. failed to clearly identify and protect the nerve from injury;

c. failed to differentiate between nerve and the bicep tendon;

d. failed to repair the area of injury with due care by pulling on said nerve without

properly identifying and confirming the anatomy prior thereto;

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9.

lacked the skill, training, expertise and past experience necessary to perform the
operation upon the plaintiff;

failed to employ a mentor and/ or co-surgeon with the skill, training, expertise and
past experience necessary to assist in performing the operation upon the plaintiff;

failed to take appropriate steps to prevent further harm to the plaintiff;
caused injury to the plaintiffs nerves;

failed to adequately assess which nerves were injured;

failed to call for an intra-operative consultation;

failed to provide adequate exposure to perform the procedure safely; and
failed to recognize the injury once it occurred.

As a result of the defendant, Edmund Ganal’s negligence, carelessness and

deviation from the standard of care, the plaintiff suffered the following injuries, some or all of

which may be permanent in nature:

10.

a. Direct and/ or indirect injury to the cutaneous nerve and ulnar nerve of the
right arm;

b. Ulnar nerve scarring; and

c. Ulnar nerve palsy causing weakness and loss of sensation in the right

forearm and right hand.

As a result of the defendant, Edmund Ganal’s negligence, carelessness and

deviation from the standard of care, on February 13, 2012, the plaintiff was admitted to Rhode

Island Hospital for a surgery to repair the injury to the nerve in her right arm.

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11. As a result of the defendant, Edmund Ganal’s negligence, carelessness and
deviation from the standard of care, the plaintiff has required orthopedic care, surgery,
anesthesia, radiological studies, neurological evaluation, EMG studies, hand therapy,
immobilization devices, and prescription pain medication

12. The plaintiff s injuries are permanent in nature and will be the cause of nature
pain and disability. The plaintiff has suffered and in the future will continue to suffer great
physical and mental pain. In addition, the plaintiff has and will in the future suffer nom a fear of
a future disability.

13. At the time he received the aforesaid injuries, the plaintiff was gainfully
employed. As a further result of the injuries she received, the plaintiff has missed time from her
employment, has sustained lost Wages and has suffered a permanent impairment of her earning
capacity.

COUNT TWO:

1. On or about February 1, 2012, David Burnikel, M.D. was a United States naval
physician acting within the scope of his employment as a United States naval physician with
privileges to perform surgery at the Newport Hospital.

2. On said date, the plaintiff, Carolyn Carter underwent a repair of her right arm and

shoulder after consulting with the defendant, Edmund Ganal, M.D., which procedure was

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performed at Newport Hospital in Newport, Rhode Island, by the defendants Dr. Edmund Ganal
and Dr. David Burnikel.

3. At all times relevant hereto, the defendant, David Burnikel, l\/I.D., held himself
out as capable of performing the repair of the right arm and shoulder and that he had the skill,
education and training to perform the procedure pursuant to the standard of care.

4. During the attempted repair of the right arm and shoulder, the plaintiff sustained
an injury to the nerves in her arm.

5. Upon information and belief, said injury occurred when Dr. Ganal and/or Dr.
Burnikel caused injury to the plaintiffs nerves.

6. As a consequence of said action the plaintiff was diagnosed post operativer with
a cutaneous nerve rupture of the right arm.

7. As a result of the injury incurred during the surgery, the plaintiff required a
secondary surgery.

8. The defendant David Burnikel was negligent and careless in that he deviated from
the standard of care in one or more of the following ways, in that he:

a. failed to properly identify the area to be repaired;
b. failed to clearly identify and protect the nerve from injury;

c. failed to differentiate between nerve and the bicep tendon;

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9.

. failed to repair the area of injury with due care by pulling on said nerve without

properly identifying and confirming the anatomy prior thereto;

lacked the skill, training, expertise and past experience necessary to perform the
operation upon the plaintiff;

failed to employ a mentor and/or co-surgeon with the skill, training, expertise and
past experience necessary to assist in performing the operation upon the plaintiff;

. failed to take appropriate steps to prevent further harm to the plaintiff;

caused injury to the plaintiff’s nerves;
failed to adequately assess which nerves were inj ured;

failed to call for an intra-operative consultation;

. failed to provide adequate exposure to perform the procedure safely; and

failed to recognize the injury once it occurred.

As a result of the defendant David Burnikel’s negligence, carelessness and

deviation from the standard of care, the plaintiff suffered the following injuries, some or all of

which may be permanent in nature:

a. Direct and/or indirect injury to the cutaneous nerve and ulnar nerve of the
right arm;

b. Ulnar nerve scarring; and

c. Ulnar nerve palsy causing weakness and loss of sensation in the right

forearm and right hand.

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10. As a result of the defendant David Burnikel’s negligence, carelessness and
deviation from the standard of care, on February 13, 2012, the plaintiff was admitted to Rhode
Island Hospital for a surgery to repair the injury to the nerve in her right arm.

- 11. As a result of the defendant David Burnikel’s negligence, carelessness and
deviation from the standard of care, the plaintiff has required orthopedic care, surgery,
anesthesia, radiological studies, neurological evaluation, EMG studies, hand therapy,
immobilization devices, and prescription pain medication

12. The plaintiffs injuries are permanent in nature and will be the cause of future
pain and disability. The plaintiff has suffered and in the future will continue to suffer great
physical and mental pain. In addition, the plaintiff has and will in the future suffer from a fear of
a future disability.

13. At the time he received the aforesaid inj uries, the plaintiff was gainfully
employed As a further result of the injuries she received, the plaintiff has missed time from her
employment, has sustained lost wages and has suffered a permanent impairment of her earning

capacity.

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THE PLAINTIFF

By

W

Humbemolfco Jr.

Polito & Associates, LLC

567 Vauxhall St. Ext. Suite 230
Waterford, CT 06385

(860) 447-3300

Fax: (860) 447-3389

info@politolaw.com
F ederal Bar No. 02037

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WHEREFORE, the plaintiff claims:
1. Money damages;

2. Such other relief as the Court deems just.

THE PLAINTIFF

By W

Humbert J. P r

Polito & As ` es, LLC

567 Vauxhall St. Ext. Suite 230
Waterford, CT 063 85

(860) 447-3300

Fax: (860) 447-3389

info@politolaw.com
Federal Bar No. 02037

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Defendant

STATEMENT OF AMOUNT IN DEMAND

The amount of legal interest or property in demand, exclusive of attorney’s fees, costs

and interest, is in excess of Seventy-Five Thousand Dollars ($75,000.00).

 

THE PLAINTIFF
By ,
Hurr%rt/fl)olito Jr.

Polito & Associates, LLC

567 Vauxhall St. Ext. Suite 230
Waterford, CT 063 85

(860) 447-3300

Fax: (860) 447-3389

info@politolaw.com
Federal Bar No. 02037

